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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                            Case No. 06-cr-20172

v                                                           Honorable Thomas L. Ludington

D-6 PHILLIP GIANFORTUNA,

                      Defendant.

__________________________________________/

    ORDER DENYING DEFENDANT’S MOTION TO CORRECT CLERICAL ERROR

       On May 20, 2008, Defendant Phillip Gianfortuna pleaded guilty to Count 1 of the Fourth

Superseding Indictment, which charged him with cocaine and marijuana trafficking conspiracy

involving 5 kilograms or more of cocaine or 100 kilograms or more of marijuana. ECF No. 206.

On September 8, 2008, he was sentenced to a term of 140 months’ imprisonment.

       On July 29, 2014, Gianfortuna filed a pro se motion to correct alleged clerical errors in

his Presentence Report (“PSR”) pursuant to Criminal Rule of Federal Procedure 36. Gianfortuna

contends that the PSR contains two errors that resulted in the imposition of a harsher sentence.

Because neither of these alleged errors are “clerical errors” within the meaning of Rule 36, this

Court lacks jurisdiction to correct them. Therefore, Gianfortuna’s motion will be denied.

                                                I

       Rule 36 permits a court to correct a clerical error at any time: “After giving any notice it

considers appropriate, the court may at any time correct a clerical error in a judgment, order, or

other part of the record, or correct an error in the record arising from oversight or omission.”

Fed. R. Civ. P. 36.
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         The Sixth Circuit has clarified that “a clerical error must not be one of judgment or even

of misidentification, but merely of recitation, of the sort that a clerk or amanuensis might

commit, mechanical in nature.” United States v. Robinson, 368 F.3d 653, 656 (6th Cir. 2004)

(quoting United States v. Coleman, 229 F.3d 1154, 2000 WL 1182460, at *2 (6th Cir. Aug. 15,

2000). Rule 36 has been consistently interpreted as dealing only with clerical errors, not with

mistakes or omissions by the court. United States v. Werber, 51 F.3d 342, 347 (2d Cir. 1995)

(Rule 36 “is not a vehicle for the vindication of the court’s unexpressed sentencing expectations,

or for the correction of errors made by the court itself.”).

                                                         A

         Gianfortuna first challenges an alleged error in his PSR regarding his conviction for

failure to pay child support. Gianfortuna contends that, although he served only 27 days for that

conviction, the PSR states that he served 30 days. This discrepancy, he continues, is important

because the conviction for failure to pay child support is only scoreable if he served at least 30

days in prison for it.

         Assuming for the moment that Gianfortuna’s allegations are true1 and that the PSR

incorrectly states that he served 30 days for his failure to pay child support, this is not a “clerical




1
         In his brief, Gianfortuna states that he is quoting language from the PSR when he refers to the statement:
“the conviction under 4A1.2(C) are satisfied because there was a 90 day term and in fact the PreSentence Report
indicates that the defendant served more than 30 days on it.” Br. at 5. Contrary to Gianfortuna’s assertion, this
language does not appear anywhere in the PSR. Instead, the PSR states that “Per 41.2(c)(1), contempt of court is not
scoreable unless they receive probation of more than one year or a term of imprisonment of at least 30 days. In this
case, the custody sentences were 30 days or more.” Thus, the PSR makes clear that Gianfortuna was sentenced to a
30 days’ imprisonment, but does not reach a conclusion on whether he actually served all 30 days.
         Indeed, the language Gianfortuna cites appears to be from the transcript of his sentencing hearing. The
language at issue was spoken by the prosecuting attorney—not the Court and not the PSR. No court has ever held
that Rule 36 permits the “correction” of a statement made by an attorney. Moreover, the case relied on by
Gianfortuna, United States v. Mackay, is inapposite because Gianfortuna is attempting to correct the trial transcript.
In Mackay, the Fifth Circuit permitted the correction of the PSR—not the correction of a sentencing transcript. 757
F.3d 195, 200 (5th Cir. 2014).


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error” encompassed by Rule 36. A dispute regarding the details of a prior conviction used in

calculating a sentence is not an error of recitation.

       For example, in United States v. Hall, a criminal defendant sought to correct allegedly

false information in his PSR regarding a past conviction. 2008 WL 924529, at *1 (S.D. Ohio

Apr. 2, 2008). Although the defendant did not dispute the conviction, he argued that the details

of the conviction were inaccurate. Id. Moreover, he contended that these inaccuracies resulted in

a harsher sentence. Id. The court held that the correction requested by the defendant was not the

result of a clerical error, “but rather factual dispute underlying a past criminal conviction.” Id. at

*2. Thus, the court concluded that it lacked jurisdiction to amend the defendants PSR pursuant to

Rule 36. Id.

       Here, like the defendant in Hall, Gianfortuna is disputing the factual information

contained in the PSR that he alleges resulted in a harsher sentence. The Court thus lacks the

jurisdiction to amend Gianfortuna’s PSR.

       Moreover, even if the Court could correct the alleged error in the PSR, it does not have

the authority to alter Gianfortuna’s sentence. Rule 36 is an inappropriate vehicle to request a

reduction in a sentence for substantive reasons. United States v. Acosta, 2007 WL 1451996, at *1

(E.D. Ky. May 14, 2007). Indeed, such a request for a change to his substantive sentence is

construed as a successive § 2255 motion over which this Court has no jurisdiction. United States

v. Naumann, 2014 WL 4385886, at *2 (W.D. Tex. Sept. 4, 2014).

                                                  B

       Gianfortuna next contends that the Court erred when, during his sentencing hearing, it

stated that “The sentence [to be imposed] in this case is largely driven by the fact that the

gentleman lies here with at least one prior gun felony conviction.” Sentencing Tr. 10, ECF No.



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246. He contends that, contrary to the Court’s statement, he does not have a prior gun felony

conviction, and that this error resulted in a harsher sentence. Indeed, the PSR does not reveal any

prior conviction for a firearm felony.

        Rule 36 is a vehicle for correcting clerical mistakes, but it may not be used to correct

errors made by the court itself. United States v. Penna, 319 F.3d 509, 513 (9th Cir. 2003). For

example, in United States v. Guevremont, the district court attempted to use Rule 36 to correct an

error it made when imposing a sentence. 829 F.2d 423, 424 (3rd Cir. 1987). The Third Circuit

held that because the “errors were made in the oral order itself, they arose from an oversight or

omission by the court, rather than through a clerical mistake, and thus are not within the purview

of Rule 36.” Id. at 426; see also United States v. Daddino, 5 F.3d 262, 264 (7th Cir. 1993).

        Thus, although the Court appears to have made a factual error regarding whether

Gianfortuna had been convicted of a prior firearm felony,2 this is not an error that may be

corrected pursuant to Rule 36. “[T]he district court has no discretionary authority under Rule 36

to correct its own errors in imposing an otherwise valid sentence . . . .” United States v. Dickie,

752 F.2d 1398, 1400 (9th Cir. 1985); see also United States v. Rickman, 2010 WL 529441, at *2

(S.D. Ill. Feb. 10, 2010) (A party “cannot use Rule 36 to correct a judgment if, as it insists, the

Court made a mistake when imposing sentence and the Clerk accurately transcribed what was

imposed.”).

        Furthermore, even if the Court had the authority to correct the alleged judicial error,

“Rule 36 may not be used to correct judicial errors in sentencing and its provisions do not permit

a substantive change in the period of incarceration which the defendant must serve.” Pacheco v.

United States, 2011 WL 5515509, at *2 (N.D. Cal. Nov. 10, 2011) aff'd, 474 F. App'x 529 (9th

2
  Again, this was a statement made by the Court during Gianfortuna’s sentencing hearing. To the extent that
Gianfortuna would like to “correct” the transcript, Rule 36 does not authorize correction when the clerk accurately
records the statements made at the hearing.

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Cir. 2012). Rather, the appropriate vehicle is through a § 2255 petition for habeas corpus.

Rickman, 2010 WL 529441, at *2. Thus, Rule 36 does not authorize any change in Gianfortuna’s

sentence.

                                                        II

       Accordingly, it is ORDERED that Gianfortuna’s Motion to Correct Clerical Mistakes in

the PSR (ECF No. 531) is DENIED.



                                                                s/Thomas L. Ludington
                                                                THOMAS L. LUDINGTON
                                                                United States District Judge
Dated: September 15, 2014


                                              PROOF OF SERVICE

                      The undersigned certifies that a copy of the foregoing order was served
                      upon each attorney of record herein by electronic means and upon
                      Phillip Gianfortuna Pris. No. 26367-039 at P.O. Box 350, Beaver, WV
                      25813 by first class U.S. mail on September 15, 2014.

                                                       s/Tracy A. Jacobs
                                                       TRACY A. JACOBS




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